             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )
Plaintiff,                             )
                                       )
    v.                                )    Case No. 19-00318-CR-W-HFS
RYAN X. COWPER, JR.,                   )
                                       )
                                       )
Defendant.                             )

                                      ORDER

      A competency hearing was conducted on February 9, 2021, and Magistrate

Judge Lajuana M. Counts considered the forensic evaluation prepared by Cynthia

A. Low, Ph.D., Forensic Unit Psychologist, and dated November 23, 2020, in which

Dr. Low determined that, at the present time, the defendant demonstrated an

average ability to understand the nature and consequences of the court

proceedings against him, and an average ability to properly assist counsel in his

defense; but it is important that he remain medication compliant or his symptoms

could worsen.




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      After making an independent review of the record, and the applicable law,

Judge Counts determined that the defendant was not currently suffering from a

mental disease or defect which would prevent him from understanding the

nature and consequences of the proceedings against him or assisting in his

defense. Thus, Judge Counts concluded that the defendant was competent to

proceed.

      To-date, no objections to the Report and Recommendation have been filed,

and defendant does not oppose the findings and has waived the 14 day period in

which to make objections. (Doc. 34) Thus, the findings and conclusions in the

Report and Recommendation (Doc. 33) are ADOPTED by the undersigned.



                                            S/ HOWARD F. SACHS               _
                                            HOWARD F. SACHS
                                            United States District Judge

Dated: February 22, 2021
Kansas City, Missouri




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